      Case: 1:21-cv-04335 Document #: 1-3 Filed: 08/13/21 Page 1 of 2 PageID #:12 Exhibit C
                                              U.S. Department of Justice
                                                     Civil Rights Division

                                                     Disability Rights Section – 4 Con
                                                     950 Pennsylvania Ave, NW
                                                     Washington, DC 20530




                                                     May 19, 2021

DJ# 205-63-0

VIA EMAIL:tmuzzy@jbosh.com
Timothy Hoffstead c/o
Taylor Muzzy, Esq
Jacobs, Burns, Orlove & Hernandez
150 N. Michigan Avenue, Suite 1000
Chicago, IL 60601




Re:            EEOC Charge Against:          METRA
               EEOC No.:                     440-2019-00517
               DJ#:                          205-63-0



Dear Mr. Hoffstead:

                   NOTICE OF RIGHT TO SUE WITHIN 90 DAYS

        It has been determined that the Department of Justice (the Department) will not file suit
on the above-referenced charge of discrimination that was referred to us by the Equal
Employment Opportunity Commission (EEOC). This should not be taken to mean that the
Department has made a judgment as to whether or not your charge is meritorious.

       You are hereby notified that conciliation on your case was unsuccessful by the EEOC.
You are further notified that you have the right to institute a civil action under Title I of the
Americans with Disabilities Act of 1990 (ADA), 42 U.S.C. § 12111, et seq., against the above-
named respondent. If you choose to commence a civil action, such suit must be filed in the
appropriate court within 90 days of your receipt of this Notice.

        Therefore, if you wish to pursue this matter, you should consult an attorney at your
earliest convenience. If you are unable to find an attorney, you may wish to contact the EEOC or
apply to the appropriate court, since that court may appoint an attorney in appropriate
circumstances under Section 706(f)(1) of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-
5(f)(1), referenced in Section 107(a) of the ADA, 42 U.S.C. § 2117(a).
      Case: 1:21-cv-04335 Document #: 1-3 Filed: 08/13/21 Page 2 of 2 PageID #:13




        If you or your attorney have any questions concerning this matter or wish to inspect the
investigative file, please address your inquiry to:

Julianne Bowman
District Director
U.S. Equal Employment Opportunity Commission
Chicago District Office
230 S Dearborn Street
Suite 1866
Chicago, IL 60604



        Please note, due to COVID-19 there may be a delay in obtaining copies of the case file.

       We are forwarding a copy of this Notice of Right to Sue to the Respondent in this case.
Enclosed you will find a Notice of Rights under the ADA Amendments Act of 2008 (ADAAA).


                                              Sincerely,
                                              Pamela S. Karlan
                                              Principal Deputy Assistant Attorney General




                                              BY: /S/ Amanda Maisels
                                                     Amanda Maisels
                                                     Deputy Chief
                                                     Disability Rights Section


Enclosures:
       Notice of Rights under the ADAAA




cc:     METRA
        EEOC-Chicago District Office
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